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              Exhibit N
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1                          UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
2                               CHARLESTON DIVISION
3        MST, LLC,
4                    Plaintiff,
5               vs.    CASE NO. 2:22-cv-00874-DCN
6        NORTH AMERICAN LAND TRUST AND GEORGETOWN
         MEMORIAL HOSPITAL,
7
                            Defendants.
8
         GEORGETOWN MEMORIAL HOSPITAL,
9
                            Third-Party Plaintiff,
10
                  vs.
11
         KYLE YOUNG AND JACQUELINE YOUNG,
12
                            Third-Party Defendants.
13
14       30(B)(6) VTC             NORTH AMERICAN LAND TRUST
         DEPOSITION OF:           BY: STEVEN WILLIAM CARTER
15
         DATE:                    January 14, 2025
16
         TIME:                    9:58 AM
17
         LOCATION:                WALKER GRESSETTE LINTON, LLC
18                                66 Hasell Street
                                  Charleston, SC
19
         TAKEN BY:                Counsel for the Plaintiff
20
         REPORTED BY:     MICHAEL DAVID ROBERTS,
21                        Court Reporter
         ___________________________________________________
22
23
24
25

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1        that we have been aware of, and we've been
2        successful in just about all of those with the
3        exception of one.
4                  Q.       And which one was that?
5                  A.       That was Atkinson versus Commissioner,
6        St. James conservation easement.                      The tax court
7        judge did not find that the conservation purposes
8        were sufficient to qualify for tax deductibility.
9                  Q.       You mentioned 11 cases.                 Do you have a
10       record of those 11 cases?
11                 A.       I do.
12                 Q.       All right.           Have any of those cases
13       involved an instance where the service questioned
14       an amendment to the easement?
15                 A.       No.
16                 Q.       They have all involved the original
17       easement?
18                 A.       Yes, sir.         Correct.
19                 Q.       There have been instances where the
20       service has -- the IRS has audited NALT, correct?
21                 A.       Yes, sir.
22                 Q.       How many times has the IRS audited
23       NALT?
24                 A.       Three times:           2004, 2014 and 2018 just,
25       recently.

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1                  Q.       And we'll get to those later.
2                  A.       I hope so.           Proud of that work, too.
3        Or those outcomes I should say.
4                  Q.       Has NALT been a direct party to any
5        litigation?
6                  A.       It has not.
7                  Q.       It has never been a defendant in a suit
8        brought by the government or an individual?
9                  A.       No.     I'm aware of -- in 2015 there's a
10       project Beaver Pond.               Apparently NALT was named as
11       a -- in this lawsuit, but we were never served and
12       it never went anywhere, and I'm not sure it still
13       exists.
14                 Q.       Has NALT ever initiated any litigation
15       to enforce the terms of an easement that it
16       believed to have been breached?
17                 A.       We have.
18                 Q.       What -- how many times has NALT done
19       that?
20                 A.       We were only compelled to do that once.
21       We've been able to usually resolve most of our
22       compliance issues without litigation, which is our
23       strong preference of course.                    But in one
24       circumstance three years ago we were forced to hire
25       an attorney and litigate.

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1                  Q.       And that doesn't include the pavement,
2        correct, that goes along with the parking?
3                  A.       I don't know.           I didn't get down to
4        that level.
5                  Q.       It doesn't include the pole lighting of
6        the -- of the parking lots, does it?
7                  A.       I didn't get down to that level.                     I'm
8        sorry.
9                  Q.       Was there a helicopter pad that was
10       contemplated for this hospital; do you know?
11                 A.       I understand there was, or at least I
12       saw a narrative talking about helicopters, so I
13       assume, unfortunately, that there was.
14                 Q.       To your knowledge, was anybody at North
15       American Land Trust charged with evaluating the
16       plan for the -- the hospital's plan to determine
17       the impact on that 56 acres as well as the
18       collateral impact on the remaining land of Weehaw?
19                 A.       Andy Johnson.
20                 Q.       That was his job?
21                 A.       Correct.
22                 Q.       Where's Andy Johnson now?
23                 A.       Six feet under.
24                 Q.       I'm sorry.
25                 A.       Andy passed away.              Yeah.

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1                  Q.       When did he die?
2                  A.       2021.      Did you not know that?               I'm
3        sorry, I didn't mean to be --
4                  Q.       No, I didn't know --
5                  A.       -- flippant there.
6                  Q.       -- because I -- I didn't know -- that's
7        the first I've heard of it.
8                  A.       Yes.      Andy passed away unfortunately in
9        2001 -- 2021.           Excuse me.
10                 Q.       Okay.      So he would have been the person
11       that you think would have evaluated those
12       consequences that I just mentioned?
13                 A.       Absolutely.
14                 Q.       At some point this was presented to the
15       NALT board for final decision, was it not?
16                 A.       It was.
17                 Q.       And if you would please go to the
18       letter dated May 9, 2008 at NALT 5003.
19                 A.       5003?
20                          MR. MORAN:           Jim, is that 503?
21       BY MR. WALKER:
22                 Q.       It's 503.         I'm getting 5,000 ahead of
23       me.    It's 503.
24                 A.       503.      You scared me.           I thought we were
25       going to be here a while.

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1                  Q.       I wouldn't do that to you.
2                           So we're at 503, and this is a letter
3        May 9, 2008 --
4                  A.       Uh-huh.
5                  Q.       -- to Andy Johnson from Kyle Young --
6                  A.       Yes, sir.
7                  Q.       -- potential modification to
8        conservation easement Weehaw Plantation.
9                           Did you review this letter before your
10       deposition?
11                 A.       I did.
12                 Q.       In this letter he talks about the
13       various considerations that he understands the
14       board would take into account based on some
15       standards published by the Land Trust Alliance,
16       correct?
17                 A.       Yes, sir.
18                 Q.       And he refers to that specifically in
19       paragraph three, does he not?
20                 A.       He does.
21                 Q.       At that point Mr. Young goes through
22       those considerations, and he has comments related
23       to each one of those, does he not?
24                 A.       He does.
25                 Q.       Did North American Land Trust do its

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1        own evaluation of these considerations?
2                  A.       Absolutely.
3                  Q.       All right.           Well, let's go to
4        Mr. Young, and in particular let's talk about A
5        first.      It must benefit the public interest.
6                           That's one of the considerations, is it
7        not?
8                  A.       That's -- yep.            Yes.
9                  Q.       He says, the Georgetown Hospital System
10       is a not-for-profit hospital system, and I have
11       provided a supplemental exhibit to this letter that
12       addresses the clear and compelling public benefit
13       this modification would produce.
14                          The public benefit he's talking about
15       is the benefit of having the hospital there,
16       correct?
17                 A.       Yes, sir.
18                 Q.       Now, is it NALT's understanding that
19       the public interest when referring to a
20       conservation easement is referring to the
21       ecological qualities of the property or anything
22       that's in the public interest?
23                          MS. TILLMAN:           Object to the form.
24                          THE WITNESS:           Ecological qualities is
25       what we would be most interested in.

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1        BY MR. WALKER:
2                  Q.       He was --
3                  A.       Excuse me.
4                  Q.       When we refer back to the treasury
5        regulation, they're talking about the public
6        interest in those qualities, too, correct --
7                  A.       Correct.
8                  Q.       -- through open space scenic and the
9        preservation of habitat, correct?
10                 A.       Yes, sir.
11                 Q.       Mr. Young doesn't address that public
12       interest, does he?
13                 A.       Does not seem to do that, no.
14                 Q.       And C says that the modification will
15       not jeopardize the tax status of North American
16       Land Trust.          Mr. Young qualifies that consideration
17       by saying, I'm not fully equipped to address this
18       point and trust that you have your own tax advisors
19       who can clarify this situation for you.                           However,
20       Georgetown Hospital is a 501(c)(3) not-for-profit
21       organization.
22                          Did North American Land Trust consult
23       its tax advisors to make sure that its tax status
24       would not be jeopardized by entering the amendment?
25                 A.       That would be a customary process.                      I

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1        would expect that that did happen.
2                  Q.        I am asked -- I'm not asking you what
3        you expect.           There are a lot of times when people
4        expect things of other people.                      I can tell you
5        around this firm I expect certain things.                           Others
6        expect things of me that don't always get done.
7                            Do you know for a fact whether or not
8        North American Land Trust consulted its tax
9        advisors for a determination of whether this
10       amendment removing 56.75 acres could potentially
11       jeopardize the tax status of NALT?
12                           MS. TILLMAN:           Object to the form.
13                           THE WITNESS:           I do not know that for a
14       fact.
15       BY MR. WALKER:
16                 Q.        In the file that I was provided, I have
17       no documentation of that.                   Would you agree there's
18       no documentation in the file of that?
19                 A.        I would.        I would just make the comment
20       that that might be attorney-client privilege,
21       though, as well.              Again, I'm not -- I'm not an
22       attorney, so I don't know, but perhaps that's why
23       it was not included.                I don't know.
24                 Q.        Well, I am not asking what the
25       substance of those opinions may have been.                            All I'm

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1        asking is whether the exercise was done.
2                  A.        I can't tell you for a fact.                   I can
3        just explain what's customary.
4                  Q.        Again, we don't know if customs were
5        followed here, right?
6                  A.        I'm sorry?
7                  Q.        We don't know if custom was followed
8        here, do we?
9                  A.        Not for a fact.
10                 Q.        On F and G, the consideration he
11       addresses is that the amendment is -- would be
12       consistent with the conservation purpose, and there
13       is a net benefit to the conservation value.
14                           He goes on to say, I am sure that you
15       would like to send your staff biologist to inspect
16       the site, but our position is that we are taking
17       the available development sites that are on the
18       interior of the tract which are ecologically
19       sensitive parcels and placing them under
20       restrictions that prohibit further development or
21       impact on these sites, and in return we are
22       releasing approximately 56 acres of the eased
23       property.
24                           Mr. Carter, did NALT send a staff
25       biologist to the site to inspect it before the

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1        amendment was entered?                  I did not see where that
2        was done --
3                            MS. TILLMAN:           Object to the form.
4        BY MR. WALKER:
5                  Q.        -- but did they do that?
6                  A.        I cannot confirm.
7                  Q.        You have no knowledge that they sent a
8        staff biologist to the site before the amendment
9        was entered, do you?
10                 A.        I do not.
11                 Q.        He says that the -- the development
12       sites, referring to the restrictive homesites, are
13       ecologically sensitive parcels.
14                           North American Land Trust did not send
15       a biologist to the site to render a decision or
16       come to a conclusion as to whether those sites were
17       ecologically sensitive or not --
18                           MS. TILLMAN:           Object to the form.
19       BY MR. WALKER:
20                 Q.        -- did it?
21                 A.        I -- I don't know.
22                 Q.        You have no knowledge that it sent --
23                 A.        I have no knowledge, yeah.
24                 Q.        You have no knowledge that it sent a
25       biologist --

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1                  A.        I have no knowledge.
2                  Q.        -- to determine whether it was
3        ecologically sensitive or not, correct?
4                  A.        Fair.
5                  Q.        Then he goes on at the end of the
6        paragraph, we certainly welcome a visit from your
7        biologist to make a field report to investigate
8        this issue, but we plan on abandoning further
9        development activities or capabilities on the
10       significant number of acres that are ecologically
11       sensitive in exchange for property that surrounds
12       an existing nine-acre commercial tract.
13                           From that sentence we can conclude that
14       he had no problem at all with NALT sending a
15       biologist to inspect the property firsthand,
16       correct?
17                 A.        Correct.
18                 Q.        At that time did NALT have a staff
19       biologist that it could have dispatched to make
20       that inspection?
21                 A.        It had two staff biologists.                      Also,
22       Andy Johnson is a trained ecologist.                          I can't
23       confirm or deny whether he was there.                              But he
24       certainly would have been more qualified than those
25       two to make these kinds of determinations.

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1                  Q.        You have no knowledge that between
2        when -- the time between when this letter was
3        entered and the -- and when this letter was sent
4        and the amendment was entered that Mr. Johnson
5        visited the site to confirm or refute anything
6        that's stated by Mr. Young, do you?
7                  A.        I have --
8                            MS. TILLMAN:           Object to the form.
9                            THE WITNESS:           -- no personal knowledge.
10       BY MR. WALKER:
11                 Q.        Nor do you know of the other two staff
12       biologists doing the same, right?
13                 A.        I do not.
14                 Q.        Was there a staff biologist assigned to
15       this area at that time?
16                 A.        No.     Our staff biologists were located
17       in the southeast, but it was not said -- you know,
18       said, here, these are your projects, these are your
19       projects.
20                 Q.        Where were they located then?
21                 A.        Peter Smith was domiciled in Boone,
22       North Carolina, and Lee Echols would have been out
23       of Atlanta, Georgia.
24                 Q.        The next bit of correspondence is on
25       the next page, which is NALT 505.                           It's a letter of

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1        May 14, 2008, and it's from Mr. Stacy to
2        Mr. Johnson.           Dear Andy, per our numerous phone
3        conversations, please find enclosed a letter from
4        Kyle Young making an official request for the North
5        American Land Trust to consider modifications to
6        the conservation easement at Weehaw Plantation.
7                            You understand that Mr. Stacy is
8        referring to the letter we just went over?
9                  A.        Yes, sir.
10                 Q.        He also says right after that, also
11       included for your reference and information is a
12       communication from the Georgetown Hospital System
13       regarding this process, copies of the real estate
14       contracts that we have executed with the Young
15       family which are contingent upon many things,
16       including the organization's approval and a copy of
17       the appraisal provided to me by the Young family
18       dealing with the inurement question.
19                           Do you know whether or not any person
20       in particular reviewed those documents that were
21       enclosed in Mr. Stacy's letter of May 14, 2008?
22                 A.        Andy Johnson would have reviewed those.
23                 Q.        What is Mr. Stacy referring to when he
24       talks about the inurement question?
25                 A.        I think he's --

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1                            MR. MORAN:          Object to the form.
2                            MS. TILLMAN:           Objection.         Yeah, sorry.
3        Object to the form.
4        BY MR. WALKER:
5                  Q.        All right.          What do you -- what do
6        you under -- under --
7                  A.        Insider dealing is private inurement.
8        I think what the better phrase would have been,
9        impermissible private benefit to the landowner is
10       what they're trying to avoid here.
11                 Q.        Is -- is that your understanding of one
12       of the precepts, that transactions should not inure
13       to the benefit to the property owner?
14                 A.        Correct.
15                 Q.        And that's also something that's
16       embodied in the IRS regulations, correct?
17                 A.        Absolutely.
18                 Q.        He goes on to say in the second
19       paragraph, all these items are delivered to you per
20       our conversations and your request in anticipation
21       of your board meeting on May 16, 2008.
22                           And that would be two days later,
23       correct?
24                 A.        Correct.
25                 Q.        Did the board undertake to consider the

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1        proposed amendment at its May 16, 2008 board
2        meeting?
3                  A.        It did.
4                  Q.        At the time the board considered the
5        proposed amendment at its May 16, 2008 meeting,
6        what due diligence had it done as part of its
7        consideration of this request?
8                  A.        What was the board's due diligence?
9                  Q.        I would say what due diligence had NALT
10       done because I understand the board is not out
11       there doing it.
12                 A.        Yeah.      Andy would have concluded at
13       that point that there was no impermissible private
14       benefit that would be conferred as a result of this
15       transaction and that the conservation purposes --
16       conservation purposes and values would have been
17       enhanced.         He would have needed to make those
18       representations at the board meeting in order for
19       his board colleagues to consider this proposal.
20                           THE VIDEOGRAPHER:              Mr. Walker, your
21       microphone fell off.
22                           THE WITNESS:           It's not me this time.
23       BY MR. WALKER:
24                 Q.        Again, those are your assumptions based
25       on standard practice?

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1                  A.        Absolutely.
2                  Q.        What we do know is that NALT had not
3        done any type of ecological assessment of flora and
4        fauna to determine the condition of that at the
5        time the amendment was requested?                           It was relying
6        on its earlier information, correct?
7                            MR. MORAN:          Object to the form.
8                            MS. TILLMAN:           Object to the form.
9                            THE WITNESS:           I don't know.
10       BY MR. WALKER:
11                 Q.        Did you find any current assessment of
12       the ecological values of the property -- when I say
13       current -- that was done between the time the
14       amendment first got on the table in the summer of
15       2007 and this board meeting in May 16, 2008, done
16       by NALT's staff or anybody else?
17                 A.        No, I don't recall any of that being
18       available in our files.
19                 Q.        I did not see that there was a separate
20       memo prepared by NALT's staff doing a conservation
21       value assessment before it went to the board.                             Are
22       you familiar with any writing like that?
23                 A.        Not for this particular project, no.
24       That is a customary part of our process now.
25                 Q.        Is it also true that NALT had not done

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1        a separate impact assessment by looking at the
2        potential impacts of the hospital project and
3        medical office buildings around it on that 56.75
4        acres or collaterally on the adjoining east
5        property?
6                            MS. TILLMAN:           Object to the form.
7                            THE WITNESS:           No, I don't know that to
8        be true.          I have no records of what Andy did to --
9        to move that process forward.
10       BY MR. WALKER:
11                 Q.        And NALT also didn't do a comparison of
12       the conservation values of the property with the
13       56.75 acres under easement and with it -- with the
14       easement not on the 56.75 acres, correct?
15                           MS. TILLMAN:           Object to the form.
16                           THE WITNESS:           I expect those things did
17       happen or our board wouldn't have voted.
18       BY MR. WALKER:
19                 Q.        I asked about a written comparison.
20                 A.        Oh, written.           I don't have anything
21       written, no.           I have not seen it.
22                 Q.        Are you aware of the provision in the
23       conservation easement for Weehaw that addresses
24       amendments?
25                 A.        No.

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1                  Q.        All right.
2                  A.        I mean, I'm not surprised to hear that
3        there's one in there, but I don't -- I would have
4        to look at it to refresh my memory.
5                  Q.        That would be standard, would it not?
6                  A.        It would be.
7                  Q.        If you would be so kind as to turn to
8        page 62 and 63.
9                            And I'll represent to you that the
10       amendment provision starts at the bottom of 62.
11       It's subpart nine.               Take a second to look at it.
12                 A.        My memory is refreshed.
13                 Q.        Is the provision that's in the Weehaw
14       easement concerning amendments a standard amendment
15       provision?
16                 A.        It looks and appears to be standard.
17                 Q.        It says, grantor and grantee recognize
18       that circumstances could arise which -- and then
19       there's a blank -- this end, grantee and grantor
20       shall mutually have the right in their sole
21       discretion to agree to amendments to this
22       declaration which are not inconsistent with the
23       basic purpose of the declaration as stated in this
24       document, provided, however, that grantee shall
25       have no right or power to agree to any amendments

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1        hereto that would result in this declaration and
2        declaration failing to qualify as a valid
3        conservation easement under the act as the same may
4        hereafter amended -- be hereafter amended or
5        section 170(h) to the code as hereafter amended.
6                            Is that correct?
7                  A.        Yes, sir.
8                  Q.        Are we then -- well, first of all, did
9        you understand that the amendment that the board
10       was considering in 2008 had to comply with this
11       subsection F9?
12                 A.        Yes, sir.
13                 Q.        If we take it a little -- apart a
14       little bit, the first requirement is that the
15       amendment not be inconsistent with the basic
16       purpose of the declaration as stated in this
17       document, correct?
18                 A.        Correct.
19                 Q.        The conservation easement does state
20       its basic purpose, doesn't it?
21                 A.        It does.
22                 Q.        If you would go to page 58, and that is
23       page 5 of the conservation easement.                          You'll see a
24       paragraph titled nine.                  It's the last part of B,
25       about a third of the way down.

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1                            Do you see that?
2                  A.        Yes.
3                  Q.        Subsection B9 of the conservation
4        easement says, the parties recognize that this
5        declaration cannot address every circumstance that
6        may arise in the future, and the parties agree that
7        the purpose of this declaration is to preserve the
8        property predominantly in its present condition and
9        to protect or enhance the property's environmental
10       systems.
11                           Did I read that correctly?
12                 A.        You did.
13                 Q.        When we're referring to the property,
14       we are referring to the entirety of the acreage of
15       Weehaw that was encumbered by this conservation
16       easement in December 1995, are we not?
17                 A.        Property is capitalized.                  That's
18       correct.
19                 Q.        That property would include this 56.75
20       acres that NALT was being asked to release from the
21       conservation easement, correct?
22                 A.        Yes.
23                 Q.        And we can gather from this explicit
24       statement that the purpose was to preserve that
25       property in its present condition and to protect or

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1        enhance its environmental systems, correct?
2                  A.        According to the words on the page,
3        yes.
4                  Q.        Do you consider those words to be
5        binding?
6                  A.        Yes, I do.
7                  Q.        Do you consider those to be laudatory
8        objectives?
9                            MS. TILLMAN:           Object to the form.
10       BY MR. WALKER:
11                 Q.        Well, let me ask -- I'll rephrase it.
12       That was a terrible question.
13                           Do you consider that that purpose is
14       consistent with the entire purpose of the
15       conservation easement which is to preserve the
16       property in a natural state subject to reserved
17       rights?
18                           MS. TILLMAN:           Object to the form.
19                           THE WITNESS:           Yes.
20       BY MR. WALKER:
21                 Q.        The second part of the amendment
22       provision states that the grantee shall have no
23       right or power to agree to any amendments hereto
24       that would result in this declaration failing to
25       qualify as a valid conservation easement under the

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1        act -- that's the South Carolina Conservation
2        Easement Act -- or section 170(h) of the code as
3        hereafter amended.
4                            We can conclude -- well, first of all,
5        that is a limitation on North American Land Trust's
6        ability to agree to an amendment, correct?
7                            MS. TILLMAN:           Object to the form.
8                            THE WITNESS:           Sounds that way.
9        BY MR. WALKER:
10                 Q.        It's worded to restrict the authority
11       of the land trust, is it not, so that it does not
12       have the authority to agree to an amendment that
13       would result in the easement violating section 170
14       of the code?
15                           MS. TILLMAN:           Object to the form.
16       BY MR. WALKER:
17                 Q.        170(h), correct?
18                 A.        Correct.
19                           MS. TILLMAN:           Object to the form.
20       BY MR. WALKER:
21                 Q.        That's the way you read it?
22                 A.        Yes, sir.
23                 Q.        You're here for North American Land
24       Trust.      That's the way North American Land Trust
25       reads it, too, does it not?

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1                            MS. TILLMAN:           Object to the form.
2                            THE WITNESS:           It does.
3        BY MR. WALKER:
4                  Q.        Did the amendment in allowing the 56.75
5        acres to be converted into a hospital campus with
6        hospital and medical office buildings preserve that
7        56.75 acres predominantly in the condition it was
8        in in December 1995?
9                            MS. TILLMAN:           Object to the form.
10                           THE WITNESS:           On its surface, no, but
11       it was offset by the restrictions that are put on
12       the development areas inside of the parcels.                              So it
13       wasn't offset.
14       BY MR. WALKER:
15                 Q.        I understand that you maintain that
16       there was an offset.                That was not my question.
17                           My question was whether or not the
18       significant development that was allowed on the
19       56.75 acres to Georgetown Hospital, whether that
20       would keep the property in predominantly the same
21       condition it was in in December 1995?
22                           MS. TILLMAN:           Object to the form.
23                           THE WITNESS:           I think there's some
24       interpretation there, predominantly.                          Those
25       interior areas weren't preserved, and now they are.

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1        BY MR. WALKER:
2                  Q.        I'm not talking about the interior
3        areas.      I'm talking about --
4                  A.        Predominantly.            So I think there's some
5        interpretation with that word.
6                  Q.        So you were saying that it really
7        doesn't matter if the 56-point -- well, let me
8        rephrase that.
9                  A.        I didn't say that.
10                 Q.        Can we agree that if the development
11       occurred, that the 56.75 acres would not
12       predominantly be in the same condition they were in
13       in December 1995?
14                           MS. TILLMAN:           Object to the form.
15                           THE WITNESS:           That 56 acres, but that's
16       part of the larger property, much, much larger
17       property, that also included building areas.
18       BY MR. WALKER:
19                 Q.        But we can agree that the 56.75 acres,
20       if that hospital and the other medical office
21       buildings and accessory uses were completed, that
22       it wouldn't be anything close to the condition it
23       was in in 1995, would it?
24                           MS. TILLMAN:           Object to the form.
25                           THE WITNESS:           If we can agree that the

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1        building areas also wouldn't be close to the
2        condition that they would have been permitted to be
3        used.
4        BY MR. WALKER:
5                  Q.        I'm not asking about the other parts of
6        the property.            I'm -- I'll object to that --
7                  A.        But they're -- they're related, though,
8        so I'm not -- I'm not going to just focus on the
9        56.     It happened because of that, so I don't know
10       how you can separate those.
11                 Q.        All right.          You can say -- all right.
12       We can -- we can go the way you're looking at it.
13                           So you're saying the obliteration of
14       the ecological values through the development on
15       the 56.75 acres was offset by benefits by
16       eliminating the five homesites and the recreational
17       areas?
18                 A.        That was --
19                           MS. TILLMAN:           Object to the form.
20                           THE WITNESS:           That was the position
21       North American Land Trust board took when they
22       decided to approve the amendment.
23       BY MR. WALKER:
24                 Q.        What standard was used in making that
25       determination?            How did that -- what -- what did

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1        North American Land Trust use to balance these two
2        things?        You have the development of 600,000 square
3        feet, possibly, on the 56.75 acres.                         You have the
4        elimination of five dwellings and a recreation area
5        of no more than three acres.
6                            What -- what standard did it look to to
7        say, okay, the conservation values actually are
8        benefited by this deal?
9                  A.        Andy Johnson in his capacity as a
10       professional ecologist was qualified to make that
11       determination and did so.
12                 Q.        So you're saying you believe he made a
13       subjective determination?
14                           MS. TILLMAN:           Object to the form.
15                           THE WITNESS:           Sure.
16       BY MR. WALKER:
17                 Q.        We don't know that he referred to any
18       standard on the outside that said -- that guided
19       his assessment -- his personal assessment of where
20       the conservation values came out, whether they were
21       impaired or enhanced, do we?
22                           MS. TILLMAN:           Object to the form.
23                           THE WITNESS:           I don't have that
24       information, no.
25       BY MR. WALKER:

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1                  Q.        Do you know whether or not North
2        American Land Trust obtained a legal opinion as to
3        the steps that are necessary under the treasury
4        regulations to extinguish a permanent conservation
5        easement on a portion of the property?
6                            MR. MORAN:          Object to the form.
7                            MS. TILLMAN:           Object --
8                            THE WITNESS:           I do not know.
9        BY MR. WALKER:
10                 Q.        You are aware that the treasury
11       regulations do, in fact, address extinguishment of
12       an easement, do you not?
13                 A.        I'm familiar --
14                           MR. MORAN:          Object to the form.
15                           THE WITNESS:           -- that there's language
16       regarding that.
17       BY MR. WALKER:
18                 Q.        If you would please turn to exhibit 6.
19                 A.        On page?
20                 Q.        Exhibit 6, and it would be page 14.
21       There's some page numbers in the lower right corner
22       that are shaded.              They're kind of difficult to see.
23       So you go to exhibit 6.
24                 A.        Oh, pardon me.
25                 Q.        There's a tab.

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1                  A.        Exhibit 6.          Got you.
2                            And you're asking me to look at?                     I'm
3        sorry.
4                  Q.        If you would go to page 14.                    There's
5        some highlighted language at the bottom of that
6        page that's subsection six.
7                            Do you see that?
8                  A.        I do.
9                  Q.        It says -- the treasury
10       regulations says, extinguishment, in general, if a
11       subsequent unexpected change in the conditions
12       surrounding the property that is the subject of a
13       donation under this paragraph can make it
14       impossible or impractical the continued use of the
15       property for conservation purposes, the
16       conservation purpose can nonetheless be treated as
17       protected in perpetuity if the restrictions are
18       extinguished by judicial proceeding and all the
19       donee's proceeds determined under paragraph
20       (g)(6)(ii) of this section from a subsequent sale
21       or exchange of property are used by the donee
22       organization in a manner consistent with the
23       conservation purpose -- purposes of the original
24       contribution.
25                           Did, to your knowledge, North American

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1        Land Trust consider this specific section of the
2        treasury regulation addressing extinguishment of
3        permanent conservation easements?
4                  A.        I'm not sure if they consulted this
5        actual provision or not.
6                  Q.        There was no subsequent unexpected
7        change in the conditions surrounding the property
8        that made it impossible or impracticable for the
9        property to be -- continued to be preserved for
10       conservation purposes, was there?
11                           MR. MORAN:          Object to the form.
12                           MS. TILLMAN:           Object to the form.
13                           THE WITNESS:           Can't confirm or deny
14       that.
15       BY MR. WALKER:
16                 Q.        Well, let's ask it differently.                    Are
17       you aware of any unexpected change in the
18       conditions surrounding the property that made it
19       impossible or impracticable for the continued use
20       of the property to be preserved under the terms of
21       the easement?
22                 A.        I'm not.
23                 Q.        To your knowledge, was there any
24       discussion within NALT of the potential need to
25       have a judicial proceeding to eliminate the

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1        easement on this 56.75 acres?
2                            MS. TILLMAN:           Object to the form.
3                            THE WITNESS:           I'm not familiar with any
4        of those conversations.
5        BY MR. WALKER:
6                  Q.        You were present at the board meeting
7        on May 16, 2008, were you not?
8                  A.        I was.
9                  Q.        Were you present for the discussion
10       about the proposed amendment?
11                 A.        I was.
12                 Q.        Do you recall any discussion at all
13       before the board in open session, not executive
14       session but open session, about whether the
15       amendment complied with the treasury regulations
16       including the section on extinguishment?
17                 A.        I don't recall any of those
18       conversations.
19                 Q.        Could it have been overlooked?
20                 A.        No.     I think this section, the way that
21       we would interpret it is if it was a condemnation
22       by a public entity where there was no offset.                             In
23       this circumstance there was an offset.
24                 Q.        Where's condemnation mentioned in six,
25       extinguishment?

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1                  A.        Again, I'm giving you my interpretation
2        of this.          This is how we would read it, if there
3        was no offset, and I'm giving an example of how
4        that might work.              Occasionally there are public
5        entities that need to condemn or, i.e., extinguish
6        portions of a conservation easement.
7                  Q.        And condemnation is through judicial
8        proceedings, correct?
9                  A.        Correct.        And that's where that comes
10       into there, and then there would be an offset in
11       terms of a monetary compensation.                           That does happen
12       from time to time.
13                 Q.        Well, this -- this doesn't talk about
14       that.     It talks about an unexpected change in
15       condition surrounding the property, does it not?
16                 A.        That's what it says.
17                 Q.        That's what it's addressing?
18                 A.        Yeah.
19                 Q.        Can we agree that you cannot -- North
20       American Land Trust cannot identify any change in
21       those conditions, correct?
22                           MS. TILLMAN:           Object to the form.
23                           THE WITNESS:           I cannot confirm that.
24       I -- I don't know what they were able to document
25       at the time of this transaction.

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1        BY MR. WALKER:
2                  Q.        Well, you're here as the designated
3        person to testify --
4                  A.        Yes, sir.
5                  Q.        -- to these things, and you have no
6        knowledge of any change in the surrounding property
7        that made it impractical or impossible to continue?
8                  A.        I do not have that knowledge.
9                  Q.        The easement itself has a similar
10       provision, does it not?
11                           And I'll direct you to NALT page 62,
12       paragraph F6.            It's near the top of the page.
13                           Do you see that?
14                 A.        I do.
15                 Q.        It says, when a change in conditions
16       gives rise to the extinguishment of this
17       declaration or a material term or provision hereof
18       by judicial proceeding, the grantee on any
19       subsequent sale, exchange or involuntary conversion
20       of the property shall be entitled to a portion of
21       the proceeds of sale equal to the greater of, and
22       then it goes on to discuss various formulas or
23       proportions.
24                           There was a sale of the property -- the
25       56.75 acres, was there not?

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1                  A.        There was.
2                  Q.        The parties had purported to agree to
3        extinguish the easement on that 60 -- 56.75 acres,
4        correct?
5                            MR. MORAN:          Object to the form.
6                            MS. TILLMAN:           Object to the form.
7                            THE WITNESS:           They agreed to an
8        exchange that involved partial extinguishment of
9        some of the easement area --
10       BY MR. WALKER:
11                 Q.        Yeah.
12                 A.        -- but what they agreed to was an
13       exchange.
14                 Q.        They agreed to -- all right.                   We'll get
15       to that in a minute.
16                           But there was a sale.                   Did North
17       American Land Trust consider that it was entitled
18       to a portion of the proceeds of the sale?
19                 A.        I don't know what the board considered
20       at that time.            Again, I would relate this to a
21       condemnation.            That's why this language was put in
22       there, to deal with condemnations, which are pretty
23       conventional things.                So this is how that proceeds
24       clause would -- that's how the money would be split
25       up between the landowner and the land trust as

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1        required by the treasury regs.
2                  Q.        Well, that's an interesting aside
3        because the easement itself actually directly
4        addresses condemnation, doesn't it?
5                  A.        I don't know.
6                  Q.        Let's look at the next paragraph.
7                            Seven, do you see that?
8                  A.        I do.
9                  Q.        Whenever all or a part of the property
10       is taken by exercise of eminent domain, by public,
11       corporate or other authority, so as to aggregate
12       the restrictions imposed by this declaration, the
13       grantor and grantee shall join in appropriate
14       actions at the time of such taking to recover the
15       full value of the taking and all incidental or
16       direct damages.
17                           Can we conclude from the fact -- or
18       wouldn't you conclude from the fact that paragraph
19       seven addresses condemnation, that paragraph six is
20       addressing when there is a -- an extinguishment
21       based on a change in conditions as opposed to
22       condemnation?
23                           MS. TILLMAN:           Object to the form.
24                           THE WITNESS:           No, I think they're
25       connected, and I don't know if this is -- the

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1        respective rights of the grantor and grantee set
2        forth in paragraph eight above.
3        BY MR. WALKER:
4                  Q.        That's on the splits of the proceeds,
5        correct?          That's what that's addressing.
6                            MS. TILLMAN:           Object to the form.
7                            THE WITNESS:           Oh, ask it again, please.
8        This is pretty heavy legalese.                      I'm trying not to
9        get out of my league here.
10       BY MR. WALKER:
11                 Q.        I'm not asking you to interpret.                     I'm
12       asking you to attest whether or not paragraph six,
13       F6, addresses when there's a change in conditions
14       giving rise to the extinguishment of the
15       declaration?
16                 A.        That's what the words on the page say.
17                 Q.        Versus seven which addresses when any
18       part of the property is taken by the exercise of
19       eminent domain?
20                 A.        Yeah --
21                           MS. TILLMAN:           Object to the form.
22                           THE WITNESS:           -- I just don't think
23       they're connected.               But, you know, that's me.                The
24       proportion share, you're going to need to figure
25       that out when there's an eminent domain, and

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1        section six describes how that happens.                            It's
2        actually very, very important from the IRS'
3        perspective because they've thrown out easements
4        when proceeds clause are not drafted correctly.
5        BY MR. WALKER:
6                  Q.        Understood.          That's a requirement of
7        the IRS, is it not --
8                  A.        It is.
9                  Q.        -- that the easement itself have a
10       correct allocation of proceeds if the easement is
11       extinguished by condemnation or otherwise so that
12       the recipient organization gets its share in
13       proportion to the value -- that the value of the
14       easement had to the value of the property at the
15       time of the donation, correct?
16                 A.        Yes --
17                           MS. TILLMAN:           Object --
18                           THE WITNESS:           -- sir.
19                           MS. TILLMAN:           -- to the form.
20       BY MR. WALKER:
21                 Q.        Is that correct?
22                 A.        It is.
23                 Q.        Next we're going to talk about the
24       board meeting where this was considered.                            The full
25       board minutes, Mr. Carter, appear at NALT 981 to

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1        983.     And by the time we get this deep into the
2        documents because of the repetition, they're not --
3        I didn't include all the pages.
4                            Do you have 981 in front of you?
5                  A.        I do.
6                  Q.        Do you recognize the document that is
7        on 981 and 982?
8                  A.        I do.
9                  Q.        What is this?
10                 A.        This is an excerpt of the board minutes
11       prepared by the secretary of the board.
12                 Q.        Who is the secretary of the board?
13                 A.        At that time it was George Asimos.
14                 Q.        Have you reviewed these minutes in
15       preparation for the deposition?
16                 A.        I have.
17                 Q.        Are the minutes accurate to the best of
18       your knowledge based on your review of the records
19       and your presence at the board meeting on May 16 --
20                 A.        To the best of my knowledge, yes.
21                 Q.        -- 2008?
22                           Who presented the proposal to the
23       board?
24                 A.        Andrew Johnson.
25                 Q.        In the presentation he made to the

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1        board reflected in these minutes, he does not
2        address the amendment provision in the conservation
3        easement, does he?
4                  A.        Not in these minutes.
5                            MS. TILLMAN:           Object to the form.
6        BY MR. WALKER:
7                  Q.        Nor does he address the conservation
8        purpose as explicitly stated in the conservation
9        easement, does he?
10                 A.        It's not --
11                           MS. TILLMAN:           Object to the form.
12                           THE WITNESS:           It's not documented in
13       these textual minutes that were prepared.
14       BY MR. WALKER:
15                 Q.        He also -- the minutes also do not
16       reflect any reference by him to whether or not the
17       amendment would comply with the IRS regulations,
18       does he?
19                 A.        It does not.
20                 Q.        He goes on -- in these minutes it says
21       that Mr. Johnson reported -- and I'm going down
22       about two-thirds of the way down -- one of the --
23       one of the conservation benefits of the amendment
24       would be the consolidation or reduction and
25       fragmentation of the conservation area and the

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1        resulting benefits ecologically.
2                            I did not see anything in writing, any
3        study, any assessment, any evaluation, before the
4        board met that addresses consolidation or reduction
5        in fragmentation of the conservation area.                            Are you
6        aware of any such study, analysis or evaluation --
7                            MS. TILLMAN:           Object to the form.
8                            THE WITNESS:           Not any --
9        BY MR. WALKER:
10                 Q.        -- written?
11                 A.        Not anything that's written, no.
12                 Q.        Isn't it also true that he did not
13       address the intensity of the development of 600,000
14       square feet of hospital and office on the 56.75
15       acres?
16                           MR. MORAN:          Object to the form.
17                           MS. TILLMAN:           Object to the form.
18                           THE WITNESS:           I don't know that that's
19       not true.
20       BY MR. WALKER:
21                 Q.        You don't know that that's not true?
22                 A.        You asked if it was true, and I'm
23       saying I don't know if that's not true.
24                 Q.        The minutes don't reflect that he ever
25       addressed the intensity of the --

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1                  A.        You're talking about the minutes?
2                  Q.        I'm talking about the minutes.
3                  A.        The minutes don't say that, no.
4                  Q.        The accurate minutes do not reflect
5        that he addressed the intensity of the plan
6        development on the site?
7                            MS. TILLMAN:           Object to the form.
8                            THE WITNESS:           They're not noted in the
9        minutes, which is a snapshot of a much longer
10       discussion.
11       BY MR. WALKER:
12                 Q.        The minutes are to capture the key
13       points, are they not?
14                 A.        They are.
15                 Q.        Are you going to testify that you have
16       a specific recollection of Mr. Johnson
17       aggressing -- addressing the -- the impacts of the
18       potential development of the 56.75 acres?
19                 A.        No, I don't have a recollection of that
20       particular board meeting.                   Way too long ago.            I
21       also can't confirm that it did not happen.
22                 Q.        Now I'm going to have to ask this
23       question.
24                 A.        Sure.
25                 Q.        You don't have any recollection that it

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1                  Q.        Are you aware of anything in the file?
2                  A.        I did not do any of that analysis,
3        so...
4                            MS. TILLMAN:           Object to the form.
5                            THE WITNESS:           In fact, it's not in the
6        file --
7        BY MR. WALKER:
8                  Q.        That just seems to be a conclusion
9        without a factual basis.                   Would you agree with
10       that?
11                           MS. TILLMAN:           Object to the form.
12                           MR. MORAN:          Object to the form.
13                           THE WITNESS:           I would not.
14       BY MR. WALKER:
15                 Q.        Well, where are the facts in the NALT
16       record to substantiate that?
17                 A.        I don't know that we're required to
18       keep those records.                It was a long time ago back
19       then, and Andy was -- had his own process and way
20       of describing and representing things.                             So I don't
21       know that any of that is a requirement.                             Andy would
22       have made those representations as a 50-year
23       professional ecologist.                  I know the board had a lot
24       of confidence and trust in his determination, so
25       I -- I wouldn't think that just because those

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1        materials aren't available that that doesn't mean
2        it didn't happen or that there wasn't due
3        diligence.
4                  Q.        Well, we have no record of that
5        happening, do we?
6                  A.        You have no physical record.
7                  Q.        Written record?
8                  A.        Yeah, it's not available.                      It would be
9        inconsistent with our --
10                 Q.        Are --
11                 A.        -- our organization --
12                 Q.        -- do you know of any --
13                 A.        -- of over 25 years.
14                 Q.        Do you know of any records that were
15       thrown away related to this file?
16                 A.        I don't, no.           No recollection, no.
17                 Q.        We're relying on the file being
18       complete.         Do you have information that it's not
19       complete?
20                 A.        No.     Andy passed away in 2021, so I'm
21       not available to ask him how he would have managed
22       his files before I came into the position of
23       president of North American Land Trust.
24                 Q.        You did, though, become involved in the
25       files when you put together the baseline

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1                  A.        His office.          Well, he had an assistant,
2        Susan Levin, who just actually retired.                            That was
3        his personal assistant.                  So he would lean on Susan
4        a lot to help keep him organized.                           But he was not
5        the best organizer.
6                  Q.        Okay.      And to your knowledge, was there
7        any point in -- in time of when the North American
8        Land Trust start scanning paper records or -- or
9        anything like that?
10                 A.        Yeah.      Certainly, you know, the digital
11       world started to evolve, as my career started in
12       2001.     And I think that the point that I can
13       definitely recall when things took a turn, when our
14       organization was ransomed or hacked by an outside
15       source.        That happened in 2016.                 We were taken
16       offline for a couple of weeks and had to pay a
17       Bitcoin ransom to get our information back.                             And at
18       that point it became very real and apparent to us
19       that we needed to implement a more robust records
20       retention system and begin to scan in, you know,
21       hard copy documents and -- and create a more
22       durable, reliable system.
23                 Q.        And tell me a little bit about that
24       ransom -- ransom experience.                     Did NALT -- does NALT
25       know whether it lost data?

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1                  A.        We don't know.            We'll never be able to
2        know.     We were able to get some data back, but we
3        were highly compromised.                   There was definitely data
4        that we did lose for sure and were never able to
5        get back.
6                  Q.        And that was in 2016?
7                  A.        I believe so, right around that time.
8                  Q.        Okay.      Did -- did Andy Johnson do a lot
9        of emailing?
10                 A.        He was more of a phone guy, sporadic
11       emails.        And his vision was very, very poor.
12       Actually he was almost blind at the end.                           But you
13       will see in the records Andy -- Andy's emails,
14       because they were often misspelled and misplaced,
15       and you could tell he was somebody that was having
16       eye challenges.
17                 Q.        Uh-huh.
18                 A.        But no, he did not email a lot.
19                 Q.        Okay.      How -- how about, you know,
20       along the same lines because of his eye challenges,
21       would you describe him as -- as dwelling more in
22       documents or dwelling in firsthand relationships?
23                 A.        Firsthand relationships.
24                 Q.        To -- to your knowledge did -- did Andy
25       visit Weehaw Plantation?

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1        for future conversations.
2                  Q.        Did -- to your knowledge did Andy
3        Johnson keep any -- any files or documents in his
4        house?
5                  A.        He may have.
6                  Q.        Is his house still there?
7                  A.        It is.       But I would think it would be
8        extremely limited.               It's just Andy was not
9        organized, so nothing would surprise me is what I'm
10       trying to tell you.                I don't think he made it a
11       regular habit of trying to bring working files
12       home, but it wouldn't surprise me.
13                 Q.        So let's talk about the 2008 amendment
14       as well because that's another snapshot in time
15       that --
16                 A.        Yes, ma'am.
17                 Q.        -- that Trenholm was talking about,
18       well, there -- there are not these documents, I --
19       I think.
20                           And, again, to your knowledge does NALT
21       still have every piece of paper surrounding the
22       2008 amendment at Weehaw Plantation?
23                 A.        No.
24                           MR. WALKER:          Object to the form of the
25       question.

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1        BY MS. TILLMAN:
2                  Q.        And -- and why don't you think so?
3                  A.        Based on my, you know, long tenure at
4        NALT, 23 years knowing Andy, knowing his
5        personalities, it would be consistent with what I
6        know about the history and the process.
7                  Q.        And 2008 would have been 15 years ago.
8        If this lawsuit had been filed in 2010 or 2011,
9        would it -- would it have been likely that NALT
10       would have been able to lay its hands on -- on much
11       more documentation --
12                           MR. WALKER:          Object to the --
13       BY MS. TILLMAN:
14                 Q.        -- surrounding this amendment?
15                           MR. WALKER:          Object to the form of the
16       question.
17                           THE WITNESS:           That would be my
18       expectation, yes.
19       BY MS. TILLMAN:
20                 Q.        And if this lawsuit had been filed in
21       2011 or 2012, shortly after MST bought its
22       property, would Andy Johnson be available to -- to
23       testify firsthand to -- to his considerations as to
24       the 2008 amendment that's the subject of this
25       lawsuit.

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1                  A.        He loved this stuff.               He wouldn't have
2        missed it for a moment.                  Yes, he would have, to
3        answer your question.
4                  Q.        How serious was Andy Johnson about the,
5        you know, conservation purposes of this easement on
6        Weehaw Plantation?
7                  A.        Very serious, and I think the record
8        shows that overall.                There was a lot of due
9        diligence and -- and conversations and staff
10       participation and board participation.                             Andy was
11       very transparent, and he wanted to make sure that
12       his board colleagues were aware and -- and, you
13       know, had the right information to be able to make
14       a -- a collective decision about moving forward.
15                 Q.        Would Andy Johnson have -- have rubber
16       stamped an amendment to a conservation easement,
17       either at Weehaw or anywhere?
18                 A.        No, Andy --
19                           MR. WALKER:          Object to the form of the
20       question.
21                           THE WITNESS:           No, Andy was also -- and
22       I believe at the time of Weehaw, he was the vice
23       president, so he wasn't authorized to sign
24       conservation easements.                  John Halsey signed the
25       first one.          I don't -- maybe Andy did -- there was

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1                  A.        Yes, that's correct.
2                  Q.        And I think Trenholm described LTA as
3        kind of the premier organization in -- in America
4        on -- on land trust practices and procedures?
5                  A.        That's how he described it.
6                  Q.        That's right.
7                            And -- and in 2008, anyway, it looks
8        like from these minutes that -- that NALT was
9        looking to LTA for guidance?
10                 A.        Sure.
11                 Q.        And so tell me a little bit about these
12       amending conservation easements and seven guiding
13       amendment principles.
14                           The first question I want to ask you
15       about them is, if amendments were per se taboo
16       under 170(h), why would the premier organization
17       for -- for land trust procedures and policies, the
18       LTA, why would it have seven guiding amendment
19       principles at all?
20                 A.        Yeah.      I don't know that they were
21       taboo.      You hear that from time to time.                       I think
22       that's kind of innuendo.                   Land Trust Alliance going
23       back to -- all the way to that time, and also
24       We Conserve PA, both offer guidance to their land
25       trust membership on how to amend conservation

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1        easements.          So it's out there.              It's in the open.
2                            And in fact the IRS released a guidance
3        in 2020 which also suggested that having an
4        amendment clause in your conservation easement
5        doesn't automatically defeat 170(h).                          There's other
6        parts to that.
7                            But I think both the trade groups and
8        the IRS recognize that amendments are a pretty
9        conventional part of the land trust process and
10       world.
11                 Q.        All right.          And -- and how about with
12       NALT, does NALT -- is -- is this Weehaw amendment
13       the only amendment to a conservation easement
14       that -- that NALT has ever done?
15                 A.        No.     We've done many amendments.
16                 Q.        How many?
17                 A.        Over a hundred.
18                 Q.        Okay.      Over a hundred amendments to
19       conservation easements.                  Have you reported all
20       those amendments to the IRS?
21                 A.        We are required to do so and do that on
22       our Form 980.
23                 Q.        And you testified earlier that you
24       certainly would have reported the Weehaw amendment
25       to the IRS --

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1                  A.        Absolutely.
2                  Q.        -- is that correct?
3                  A.        Yes, ma'am.
4                  Q.        In any of the years that you were --
5        that North American Land Trust was audited, which I
6        think we said was 2004, 2014 and 2018 --
7                  A.        Correct.
8                  Q.        -- had -- had NALT done amendments
9        that -- that the IRS would have been aware of as
10       part of its audit?
11                 A.        Absolutely.
12                 Q.        Okay.      Did -- did -- has the IRS or did
13       the IRS ever question or raise concerns to NALT
14       about amendments --
15                 A.        I do not recall that.
16                 Q.        -- to the conservation easements?
17                 A.        No.
18                 Q.        So no?
19                 A.        No.     I -- I hedge because the 2014 has
20       a lot of information in there.                      Trenholm and I were
21       talking about that earlier.                    I can't speak to
22       everything that they mention there, but I do not
23       believe that evidence came up.                      I have no
24       recollection of that.
25                 Q.        And this kind of goes without saying,

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1        but I'll get it on the record.                      The IRS has -- has
2        never revoked the land trust 501(c)(3) status; is
3        that correct?
4                  A.        No, ma'am.
5                  Q.        Notwithstanding the fact that the land
6        trust has done a hundred amendments or so to
7        conservation easements in its -- in its time?
8                  A.        (Witness moves head up and down.)
9                  Q.        So let's talk about the seven guiding
10       amendment principles from LTA.                      Do you know them
11       well enough to rattle them off?                       I can tell you I
12       think they're on the very next page of NALT 849.
13                 A.        Yeah.      I'm familiar.
14                 Q.        Okay.      Kind of talk through what a land
15       trust typically does or -- and what the North
16       American Land Trust specifically does when they're
17       evaluating proposed amendments to conservation
18       easements.
19                 A.        Right.       Well, in contemporary times we
20       use what's called a conservation benefit analysis,
21       and this is an internal process.                       It works much
22       like a SWOT analysis if you're familiar with that,
23       strengths, opportunities, threats and weaknesses or
24       something like that.                But we will run through a
25       process to identify all of those boxes, and then

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1        hopefully that will begin to tell us whether the
2        risk profile of a particular amendment is such that
3        we would want to pursue it.
4                            So it is a detailed internal process
5        that we take on now, and all of that information is
6        saved as part of our records retention, so we have
7        that available to document our process in -- in
8        evaluating the merits of a potential amendment
9        proposal.
10                 Q.        And -- and at the time, though -- and
11       that's your practices now --
12                 A.        Yes, ma'am.
13                 Q.        -- as I understand it, but it looks
14       like would it be fair to say that in 2007, 2008,
15       based on -- well, that -- that NALT was -- was
16       really looking to the LTA's --
17                 A.        Yes.
18                 Q.        -- guidance?
19                 A.        Yeah, this was kind of the foundation
20       for where our policy is today.                      It's -- it has a
21       lot more information and context in our
22       board-approved policy which is updated every three
23       years.      But a lot of what you're seeing here, you
24       know, is part of that.
25                 Q.        Has -- has NALT's thinking on

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1        amendments to conservation easements evolved over
2        time?
3                  A.        Oh, yeah for sure.              Yeah.
4                  Q.        Tell me about that.               Just -- just give
5        me a broad overview of how it's evolved, and try
6        and anchor it to a time period while you're
7        talking.
8                  A.        Well, high level, you know, when I
9        started, we were not familiar with any litigation
10       for conservation easements, whether it was
11       amendments or we just don't like the easement.
12       There was no case law or litigation out there to
13       help guide our process, procedures and policies.
14       That has changed a lot over the course over the
15       past 23 years.            There has been a lot of litigation.
16       There has been IRS guidance documents.                             I mentioned
17       the one in 2020.              So now there is a lot of publicly
18       available information to give us more data on how
19       we should proceed with these.
20                           There's also another example of the
21       Buck case which -- which was a major case that
22       everyone I'm sure is aware of that talked about the
23       exchanging of property.                  That happened a few years
24       ago.     Obviously that information was not available
25       when the Weehaw conservation -- or conservation

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1        easement amendment happened.                     But -- but major
2        events like that help guide our process and
3        evolution of the organization going forward.
4                  Q.        And -- and specifically evolution of
5        your practices and -- and kind of policies with
6        regard to amendments; is that correct?
7                  A.        Correct.
8                  Q.        To your knowledge in 2008 had -- had
9        the IRS issued any kind of guidance, or were
10       there -- were there cases out there about
11       amendments specifically?
12                 A.        No, ma'am.
13                 Q.        Okay.      So -- so it was reasonable for
14       NALT in -- in 2008 to rely on this LTA practices
15       and procedures and policies?
16                 A.        Very conventional, yes.
17                           MR. WALKER:          Object to the form of the
18       question.
19       BY MS. TILLMAN:
20                 Q.        And it looks like NALT's board also
21       relied on those seven guiding principles of
22       amendment when it was evaluating the Weehaw
23       amendment; is that --
24                 A.        It --
25                 Q.        -- correct?

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1                  A.        It did.        And you note that they make
2        reference to that board in the board report which
3        is part of our official business records and was
4        provided to the board of directors at that time.
5                  Q.        And, again, if there are not, you know,
6        paper documents, ecological documents, biology
7        reports in NALT's records now surrounding that
8        amendment that happened 15 years ago, does that
9        necessarily mean that they never existed?
10                           MR. WALKER:          Object to the form.
11                           THE WITNESS:           No.
12       BY MS. TILLMAN:
13                 Q.        Are red-cockaded woodpeckers a part of
14       the 1995 conservation easement on Weehaw
15       Plantation?
16                 A.        No, ma'am.
17                 Q.        Would NALT have any obligation towards
18       red-cockaded woodpeckers or any enforceable
19       authority as far as red-cockaded woodpeckers go as
20       to the 1995 conservation easement on Weehaw
21       Plantation?
22                 A.        I'm not sure how the -- the
23       conservation easement deed would necessarily guide
24       that, but certainly we would have an ethical
25       responsibility to take that into account and

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1        perspective, you know, as the property is chopped
2        up and -- and certain habitats and -- you know, are
3        eliminated, the species will -- will stop using
4        that.     Obviously the more property that doesn't
5        have anthropogenic evidence, roads and houses and
6        trees running through, is going to be more suitable
7        for -- for wildlife that -- that like that kind of
8        habitat.          So fragmenting the property has -- can --
9        can have negative results for habitat and wildlife.
10                 Q.        Okay.
11                 A.        And then the other side of it is the
12       ownership perspective from a habitat -- or from a
13       fragmentation perspective.
14                 Q.        Is -- is it costly for NALT to monitor
15       conservation easements?
16                 A.        It is.
17                 Q.        What percentage of your budget goes to
18       monitoring?
19                 A.        We report it on our 990.                  It's a --
20       it's a large number.                I believe that we are
21       averaging around $350,000 annually expended to run
22       our monitoring program.
23                 Q.        And a representative from NALT as part
24       of the monitoring would've -- was -- would have
25       visited Weehaw Plantation at least annually --

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1                  A.        Yes.
2                  Q.        -- is that correct?
3                  A.        Regularly.          I do see that there is some
4        voids early on with the monitoring which wouldn't
5        be unexpected.             We're at a place now where our
6        monitoring policy requires NALT to monitor
7        annually.         Back then we were looking at just the
8        treasury -- treasury regulations which only require
9        regular monitoring.
10                 Q.        And -- and I noticed Lee Echols' name
11       come up a lot in those monitoring reports.                            Who is
12       Lee Echols at NALT?                What is his position?
13                 A.        He was a conservation biologist.                     He
14       left the organization probably two or three years
15       ago, but he was a conservation biologist.
16                 Q.        I hate to jump around, but I'm going
17       to.    Let's look at NALT page 758.                         And -- and
18       really 758 is a snapshot in the middle of a lot of
19       drafts of the amendment to the conservation
20       easement.         Trenholm was -- was jumping around a
21       little.        I want to be clear that I'm -- I'm -- in
22       the question I'm asking, I'm encapsulating all the
23       drafts he was asking you questions about.
24                           Is it NALT's understanding and your
25       understanding that -- that the drafting of -- of

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1        this amendment to the conservation easement was a
2        collaborative process?
3                  A.        Very much so.
4                  Q.        Who -- who were the collaborators on
5        it?
6                  A.        Primarily Andrew Johnson as the
7        president of North American Land Trust and Dan
8        Stacy as the representative for the landowner.
9                  Q.        Did -- what about the Youngs, were --
10       were they involved?                Or a -- a represent --
11                           MS. BAUM:           Objection.
12       BY MS. TILLMAN:
13                 Q.        -- representative of the Youngs?
14                 A.        I don't recall.
15                 Q.        Okay.      And, you know, stepping back
16       from all the drafts, although keep your finger on
17       those pages, about -- for how -- how long did NALT
18       consider this amendment?                   Do you -- do you have any
19       knowledge on that?
20                 A.        Seems like it's almost two years to a
21       year and a half, somewhere in that area.                           I
22       understand from the file that Andy was first
23       notified in the summer of 2007, and the amendment
24       wasn't recorded until December of 2008.
25                 Q.        Okay.      So for about a year and a

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1        half --
2                  A.        At least, yeah.
3                  Q.        -- the -- the North American Land Trust
4        was collaborating and -- and working with all these
5        different people to arrive at an amendment that the
6        North American Land Trust was comfortable with; is
7        that correct?
8                  A.        Yes, ma'am.
9                  Q.        And -- and the ultimate 2008 amendment,
10       which was a product of all these drafts and
11       revisions and handwritten notes, did NALT -- did
12       the North American Land -- Land Trust ultimately
13       sign it?
14                 A.        Yes.
15                 Q.        And -- and why do you think it signed
16       the 2008 amendment?
17                 A.        Because it was satisfied on all of the
18       elements of the -- the project that needed to be
19       satisfied.          Most importantly a conservation uplift
20       and no impermissible private benefit.
21                 Q.        And -- and talking about no
22       impermissible private benefit, there was a lot of
23       innuendo surrounding the deed to the hospital
24       for three -- for $3 million or so.
25                 A.        Yeah.

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1        BY MR. MORAN:
2                  Q.        All right.          Mr. Carter, I won't -- I
3        will endeavor not to keep you here too much longer.
4        For the record, I'm Wes Moran.                      I represent
5        Georgetown Memorial Hospital.
6                            I would like to start, would you just
7        briefly paraphrase what NALT's mission is, please?
8                  A.        The preservation of open space and
9        natural habitats and cultural resources.
10                 Q.        Okay.      And in regard to that mission,
11       is it -- is one of NALT's key roles to enforce the
12       restrictions on conservation easements that it
13       holds?
14                 A.        Absolutely.
15                 Q.        Okay.      What incentive, if any, would
16       NALT have to execute an amendment to a conservation
17       easement that did not further the conservation
18       benefits or purposes of the underlying easement?
19                 A.        There would be no incentive to do that.
20                 Q.        Okay.      Now, in particular regard to the
21       2008 amendment at issue in this case, if NALT had
22       any concern that the amendment was improper or did
23       not further the conservation purposes and values of
24       the underlying easement, would it have executed
25       that amendment?

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1                  A.        No, sir.
2                  Q.        Okay.      We looked at the seven guiding
3        principles for amending conservation easements that
4        was published by the Land Trust Alliance in
5        September of 2007; is that right?
6                  A.        Yes, sir.
7                  Q.        And those -- those are on page NALT 849
8        in the notebook in front of you; is that right?
9                  A.        Correct.
10                 Q.        Now, with respect to the seven
11       principles articulated here, is it your
12       understanding that before executing the 2008
13       amendment that is at issue in this lawsuit, did the
14       North American Land Trust conduct its own analysis
15       of each of those principles and determine that the
16       2008 amendment was in compliance with those?
17                 A.        Yes, sir.
18                 Q.        Okay.      And -- and if I heard your
19       testimony correctly, that would have been
20       Mr. Johnson primarily who conducted that analysis
21       and then presented that to the North American Land
22       Trust board; is that right?
23                 A.        Yes, sir.
24                           MR. WALKER:          Object to the form of the
25       question.

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1        BY MR. MORAN:
2                  Q.        And -- and did I hear you correctly
3        that -- that Mr. Johnson had a -- a master's degree
4        from Yale in ecology --
5                  A.        Yes, sir.
6                  Q.        -- is that right?
7                  A.        (Witness moves head up and down.)
8                  Q.        Okay.
9                  A.        School of Forestry.               He was --
10                 Q.        School of Forestry.               But a master's
11       degree from Yale?
12                 A.        Yes.
13                 Q.        And you don't happen to know what that
14       degree -- the specific delineation of that degree,
15       do you?
16                 A.        I recall the Grinnell undergraduate
17       degree was ecology.                The Yale School of Forestry
18       degree, I'm sorry, I -- I don't recall.
19                 Q.        No, no worries at all.
20                           Let's look at the amendment itself
21       which is on NALT page 75 here.
22                           If you would, please, just take a
23       second to familiarize yourself with that document.
24       Am I correct that this is the executed version of
25       the amendment that was recorded in the Georgetown

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1        County -- with the Georgetown County Registrar of
2        Deeds?
3                  A.        Yes, sir.
4                  Q.        Okay.      Now, there are -- there are a
5        couple of provisions that I would like to focus on
6        here.     If you look on the second page of that
7        document on -- which is Bates numbered NALT 76,
8        just a little past halfway down, there are three
9        whereas clauses.
10                           And the first states, whereas, upon
11       study and inspection the grantee has concluded that
12       the release of the hospital parcel shall have no
13       material adverse effect upon the conservation
14       purposes and conservation values of the
15       conservation easement by virtue of its location and
16       its present condition due to the expansion of the
17       easement restrictions on the interior and marsh
18       riverfront components of the property which enhance
19       the biological and ecological value of the
20       property.
21                           Did I read that correctly?
22                 A.        You did.
23                 Q.        And is it your understanding that it
24       was NALT's president Andy Johnson who executed this
25       document on its behalf?

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1                  A.        Yes, sir.
2                  Q.        Okay.      And based off of your history
3        working with Mr. Johnson, based off of your
4        experience with the North American Land Trust as an
5        organization, would either Mr. Johnson or any
6        officer of the North American Land Trust have
7        signed their name to this document if it did not
8        reach that determination that was articulated in
9        that whereas clause I just read?
10                           MR. WALKER:          Object to the form of the
11       question.
12                           THE WITNESS:           Absolutely not.
13       BY MR. MORAN:
14                 Q.        And I believe Ms. Tillman touched on
15       this earlier.             Would Mr. Johnson or any officer of
16       North American Land Trust have represented here
17       that there was a study and inspection done by the
18       North American Land Trust if, in fact, there had
19       not been one done?
20                 A.        No.
21                           MR. WALKER:          Object to the form of the
22       question.
23       BY MR. MORAN:
24                 Q.        All right.          I would like to look at the
25       next whereas clause, which again begins with,

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1        whereas, upon study and inspection grantee -- and
2        grantee is NALT; is that right?
3                  A.        Yes, sir.
4                  Q.        -- grantee has determined that the
5        extinguishment of the five restricted building
6        envelopes and the right to the five dwellings will
7        have a greater ecological benefit and further
8        advance and protect the conservation purposes of
9        the conservation easement and any loss of such from
10       the removal of the hospital parcel from the
11       conservation easement, particularly due to the
12       superior location of the five dwellings in terms of
13       scenic view from the Pee Dee River, Black River and
14       Intracoastal Waterway in proximity to significant
15       environmental features of the property, including
16       without limitation the critical marsh habitat, the
17       archaeologically significant sites and the wetlands
18       area of the property.
19                           Did I read all of that correctly?
20                 A.        You did.
21                 Q.        Okay.      Again, knowing what you know
22       about Mr. Johnson and being an officer of NALT
23       currently and being its representative of the
24       organization, would -- would any of those
25       categories of persons have represented here that

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1        there was a study and inspection done to support
2        that whereas clause if, in fact, there was no study
3        or inspection?
4                  A.        Absolutely --
5                            MR. WALKER:          Object --
6                            THE WITNESS:           -- not.
7                            MR. WALKER:          -- to the form.
8        BY MR. MORAN:
9                  Q.        Okay.      And would Mr. Johnson or any
10       officer of NALT have signed their name to this
11       document if they had not determined that the
12       contents of this whereas clause were accurate as
13       they -- in accordance with their analysis of those
14       issues?
15                           MR. WALKER:          Object to the form.
16                           THE WITNESS:           Absolutely not.
17       BY MR. MORAN:
18                 Q.        Okay.      And the last whereas clause here
19       I want to focus on is, whereas, the loss of scenic
20       view from Highway 701 and S-22-325 as a result of
21       the development of the hospital parcel is
22       insignificant in comparison to the substantial
23       ecological and scenic benefits of the
24       extinguishment of the five dwelling rights in
25       addition to the public and social benefits related

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1        to meeting the needs of the hospital.
2                            Would anyone at NALT including
3        Mr. Johnson have signed their name to this document
4        had they not conducted an analysis and determined
5        that to be an accurate statement?
6                            MR. WALKER:          Object to the form.
7                            THE WITNESS:           Absolutely not.
8        BY MR. MORAN:
9                  Q.        All of those whereas clauses that I
10       just read, those were -- were statements that
11       Mr. Johnson as the president of NALT attested to in
12       2008 when this was executed; is that right?
13                 A.        Correct.
14                 Q.        And does NALT stand by those whereas
15       clauses and the determinations reached therein to
16       this day?
17                 A.        It does.
18                 Q.        Early in your testimony Mr. Walker
19       showed you some -- some regulations that related to
20       the extinguishment of conservation easements.                             Do
21       you recall that?
22                 A.        I do.
23                 Q.        In the case at hand NALT is still a
24       holder of the conservation easement on Weehaw
25       Plantation, is it not?

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1        with the right to develop five of the building
2        envelopes removed is $2,400,000; is that right?
3                  A.        Yes, sir.
4                  Q.        And so that would be a difference in
5        value of 3,450,000 as determined by Pamela Ghents
6        Ness of Cromartie Appraisal Service; is that right?
7                  A.        Correct.
8                  Q.        Okay.      And is this the document that
9        the North American Land Trust relied on in
10       determining that there was no inurement in value to
11       the Youngs as a result of the amendment?
12                 A.        That's my understanding.
13                 Q.        Okay.      We looked at some drafts of the
14       amendment.          Do you recall that?
15                 A.        I do.
16                 Q.        And if you would, please, can you go to
17       page 758, NALT page 758.                   I want to draw your
18       attention to one of the bracketed sentences that is
19       struck here, and it's just past about halfway down.
20                 A.        Excuse me.
21                 Q.        There is a note in here that says, must
22       discuss whether hospital parcel should remain
23       subject to the easement to the limited extent
24       necessary to assure that it remains restricted to
25       use for a hospital and related uses.

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1                            Do you see that?
2                  A.        I do.
3                  Q.        And that note was struck from the draft
4        amendment, and ultimately the amendment nor any
5        other document that you're aware of restricts the
6        use of the hospital parcel for use as a hospital or
7        medical-related uses; is that right?
8                  A.        Correct.
9                  Q.        Is that something that was discussed
10       amongst North American Land Trust and Georgetown
11       Memorial Hospital as these negotiations were going?
12                 A.        According to the records it seems that
13       way, yes.
14                 Q.        Okay.      And I believe that Ms. Tillman
15       touched on this, but there are some other notes in
16       here in all caps as well where it -- in the next
17       paragraph down where it says, must be able to
18       substantiate this statement with biological and
19       other evidence, in -- in regard to one of the
20       whereas clauses, right?
21                 A.        Yes, sir.
22                 Q.        Do you have any reason to believe that
23       NALT did not conduct its own internal analysis to
24       be able to substantiate that statement with
25       biological and other evidence?

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